           Case 8:20-cv-03531-GJH Document 53 Filed 01/06/21 Page 1 of 4



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                   Southern Division


ASSOCIATION OF COMMUNITY                         *
CANCER CENTERS, et al.,
                                                 *
       Plaintiffs,
                                                 *
v.                                                          Case No.: GJH-20-3531
                                                 *
ALEX M. AZAR II, in his official capacity
as Secretary of the U.S. Department of           *
Health and Human Services, et al.,
                                                 *
       Defendants.
                                                 *
*      *       *      *       *      *       *       *      *      *       *      *       *

              ORDER EXTENDING TEMPORARY RESTRAINING ORDER

       At issue in this civil action is the Most Favored Nation (“MFN”) Rule—published by the

Centers for Medicare and Medicaid Services (“CMS”), a division of the United States

Department of Health and Human Services (“HHS”), on November 27, 2020—which requires

reimbursements made for certain drugs covered by Medicare Part B to be based on the lowest

price in a group of “most favored nations” rather than the average U.S. sales price. ECF No. 24.

Plaintiffs in this civil action are organizations which represent members—including provider

groups, doctors, patients, and pharmaceutical companies—that will be impacted should the MFN

Rule be implemented. ECF No. 1 ¶¶ 15–18. Defendants are HHS; Alex M. Azar II, the

Secretary of HHS; CMS; Seema Verma, the CMS Administrator; the Center for Medicare and

Medicaid Innovation (“CMMI”); and Brad Smith, the Director of CMMI and the CMS Deputy

Administrator. ECF No. 1 ¶¶ 19–24.




                                                 1
          Case 8:20-cv-03531-GJH Document 53 Filed 01/06/21 Page 2 of 4



       CMS initially intended the model underlying the MFN Rule to go into effect on January

1, 2021; Most Favored Nation (MFN) Model, 85 Fed. Reg. 76180 (Nov. 27, 2020) (to be

codified at 42 C.F.R. pt. 513); however, Judge Catherine C. Blake of this Court issued a

Temporary Restraining Order (“TRO”) on December 23, 2020, restraining Defendants from

implementing, enforcing, or otherwise effecting the MFN Rule for a period of fourteen days.

ECF No. 44. On December 28, 2020, in a parallel litigation challenging the MFN Rule, Judge

Vince Chhabria of the United States District Court for the Northern District of California largely

adopted Judge Blake’s reasoning and issued a nationwide preliminary injunction, enjoining

Defendants from implementing the MFN Rule pending completion of the notice-and-comment

procedures required by the Administrative Procedure Act (“APA”). Cal. Life Scis. Ass’n v. Ctr.

for Medicare & Medicaid Servs., No. 20-cv-08603-VC, 2020 WL 7696050 (N.D. Cal. 2020).

Most recently, on December 30, 2020, Judge Kenneth Karas of the United States District Court

for the Southern District of New York, also adopting Judge Blake’s reasoning, issued a more

limited preliminary injunction, enjoining Defendants from applying the MFN Rule to EYLEA

(aflibercept) Injections, a drug manufactured by Regeneron—the Plaintiff in the New York

litigation—and covered by the MFN Rule. ECF No. 51-1.

       With the January 1 deadline looming, all three judges based their orders granting

injunctive relief on Defendants’ failure to follow the notice-and-comment procedures required by

the APA and declined, in each case, to evaluate the statutory and constitutional claims of the

respective plaintiffs. ECF No. 43 at 11 n.9 (“The court does not today reach the plaintiffs’

arguments concerning the statutory authority of CMS or the constitutionality of the rule.”); ECF

No. 51-1 at 12 (“In the interest of releasing this Opinion & Order expeditiously, the Court does

not evaluate and takes no position on Plaintiff’s probability of success on its other claims.”); Cal.



                                                 2
          Case 8:20-cv-03531-GJH Document 53 Filed 01/06/21 Page 3 of 4



Life Scis. Ass’n, 2020 WL 7696050 at *1 (“The motion for a preliminary injunction is granted

based on the government’s failure to complete the notice and comment procedures required by

the Administrative Procedure Act.”).

       Plaintiffs in this action have raised both statutory and constitutional challenges to the

MFN Rule in addition to their procedural challenge under the APA. In their Reply

Memorandum, Plaintiffs indicated that they would submit a “more full rebuttal on the merits” in

advance of a ruling on the Preliminary Injunction. ECF No. 35 at 22. The Court believes such a

submission would be helpful at this juncture as the Court wishes to, at least, address the statutory

issues presented by the Motion for Temporary Restraining Order and Preliminary Injunction,

ECF No. 24, which have not previously been reached by any court.

       In order to adequately consider these issues, pursuant to Fed. R. Civ. P. 65(b)(2), the

Court extends the TRO issued on December 23, 2020 for an additional fourteen days. The Court

finds that the opportunity to, at least, reach the statutory issues presented in this action provides

good cause for the extension. This extension will not prejudice either party since Defendants are

currently subject to the nationwide preliminary injunction issued by the Northern District of

California, which vacates the MFN Rule pending completion of the notice-and comment-

process. Cal. Life Scis. Ass’n, 2020 WL 7696050 at *2.




                                                  3
         Case 8:20-cv-03531-GJH Document 53 Filed 01/06/21 Page 4 of 4




       For the reasons stated above, it is ordered by the United States District Court for the

District of Maryland that:

   1. The Temporary Restraining Order issued in this civil action on December 23, 2020, ECF
      No. 44, is EXTENDED for another fourteen days until January 20, 2021, or until further
      Order from the Court; and

   2. Plaintiffs SHALL submit additional briefing on their statutory challenges to the MFN
      Rule on or before January 11, 2021. Defendants may respond, if they choose, by January
      15, 2021.



Dated: January    6, 2021                                    /s/
                                                             GEORGE J. HAZEL
                                                             United States District Judge




                                                 4
